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Proposed Counsel to the Debtors
and Debtors in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                                Chapter 11

JPA NO. 111 CO., LTD. and                             Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                      (Jointly Administered)
                                     1
                         Debtors.



                         SCHEDULES OF ASSETS AND LIABILITIES

                                  JPA NO. 111 CO., LTD. (21-12075)




1
    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.
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 Fill in this information to identify the case:

                JPA No. 111 Co., Ltd. _____ _____ _____ ______ _____ _____ _____ _
 Debtor name ____________________________


                                              Southern
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                              New York
                                                                                                                 (State)
 Case number (If known):                  21-12075 (DSJ)
                                      _________________________


                                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                                  amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                        12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                  N/A
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                              118,440,813.03
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                  118,440,813.03
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ 103,757,464.05
                                                                                                                                                                                                  103,757,464.05
                                                                                                                                                                                                  ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                      N/A
                                                                                                                                                                                                $ ________________
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................

     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +      1,093,268.88
                                                                                                                                                                                                    665,763.88
                                                                                                                                                                                                $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                   104,850,732.93
                                                                                                                                                                                                   104,423,227.93
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                                                   Pg 3 of 22
  Fill in this information to identify the case:

                JPA No. 111 Co., Ltd.
  Debtor name __________________________________________________________________

  United States Bankruptcy Court for the:_______________________
                                               Southern          District of ________
                                                                             New York
                                                                             (State)
  Case number (If known):         21-12075 (DSJ)
                              _________________________                                                                                  Check if this is an
                                                                                                                                         amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                  12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.


For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                 Current value of debtor’s
                                                                                                                                   interest

2. Cash on hand                                                                                                                           N/A
                                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                 Type of account                 Last 4 digits of account number
        See
         Seeattached
             Attached Schedule   A/B Part
                          Schedule    A/B 1, Part
                                             Question 3
                                                  1, Question
   3.1. _________________________________________________     3 ______________________          ____ ____ ____ ____                156,013.05
                                                                                                                                  $______________________
                                                                                                                                       156,013.05
   3.2. _________________________________________________ ______________________                ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
   4.1. _____________________________________________________________________________________________________                     $______________________
   4.2. _____________________________________________________________________________________________________                     $______________________

5. Total of Part 1
                                                                                                                                  $______________________
                                                                                                                                       156,013.05
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

          No. Go to Part 3.
          Yes. Fill in the information below.
                                                                                                                                    Current value of
                                                                                                                                    debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit
   7.1. ________________________________________________________________________________________________________                   $______________________
   7.2._________________________________________________________________________________________________________                   $_______________________


  Official Form 206A/B                                     Schedule A/B: Assets        Real and Personal Property                              page 1
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Debtor              JPA No. 111 Co., Ltd.                             Pg 4 of 22
                _______________________________________________________                                      21-12075 (DSJ)
                                                                                    Case number (if known)_____________________________________
                Name




8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment
   8.1.___________________________________________________________________________________________________________                  $______________________
   8.2.___________________________________________________________________________________________________________                  $_______________________

9. Total of Part 2.
                                                                                                                                   $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:     Accounts receivable

10. Does the debtor have any accounts receivable?

          No. Go to Part 4.
          Yes. Fill in the information below.
                                                                                                                                    Current value of debtor’s
                                                                                                                                    interest
11. Accounts receivable

    11a. 90 days old or less:     $4,215,330.00
                                  ____________________________
                                  $4,215,330.00                  $4,215,330.00
                                                               – ___________________________
                                                                      $4,215,330.00                   = ........                     0
                                                                                                                                   $______________________
                                                                                                                                             0.00
                                   face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:         $3,936,817.42
                                  $3,936,817.42
                                  ___________________________   $3,936,817.42
                                                                     $3,939,817.42
                                                              – ___________________________           = ........                     0
                                                                                                                                   $______________________
                                                                                                                                             0.00
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3                                                                                                                  0
                                                                                                                                   $______________________
                                                                                                                                             0.00
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:     Investments

13. Does the debtor own any investments?
          No. Go to Part 5.
          Yes. Fill in the information below.
                                                                                                          Valuation method          Current value of debtor’s
                                                                                                          used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________                 _____________________    $________________________
   14.2. ________________________________________________________________________________                 _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                  % of ownership:
   15.1._______________________________________________________________             ________%             _____________________    $________________________
   15.2._______________________________________________________________             ________%             _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
   Describe:
   16.1.________________________________________________________________________________                  ______________________   $_______________________
   16.2.________________________________________________________________________________                  ______________________   $_______________________



17. Total of Part 4
                                                                                                                                   $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                           Schedule A/B: Assets     Real and Personal Property                              page 2
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Debtor              JPA No. 111 Co., Ltd.                      Pg 5 of 22
                 _______________________________________________________                              21-12075 (DSJ)
                                                                             Case number (if known)_____________________________________
                 Name




Part 5:     Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
          No. Go to Part 6.
          Yes. Fill in the information below.

     General description                            Date of the last       Net book value of     Valuation method used     Current value of
                                                    physical inventory     debtor's interest     for current value         debtor’s interest
                                                                           (Where available)
19. Raw materials
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                         $__________________     ______________________

20. Work in progress
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                         $__________________     ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                           $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                        $______________________
                                                    MM / DD / YYYY
                                                                         $__________________     ______________________


23. Total of Part 5                                                                                                       $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
           No
           Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

           No
           Yes. Book value _______________       Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
          No. Go to Part 7.

          Yes. Fill in the information below.

      General description                                                  Net book value of     Valuation method used     Current value of debtor’s
                                                                           debtor's interest     for current value         interest
                                                                           (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________           $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish
   ______________________________________________________________           $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)
   ______________________________________________________________           $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________           $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________           $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets     Real and Personal Property                          page 3
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Debtor              JPA No. 111 Co., Ltd.                        Pg 6 of 22
                 _______________________________________________________                                 21-12075 (DSJ)
                                                                               Case number (if known)_____________________________________
                 Name




33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

          No
          Yes. Is any of the debtor’s property stored at the cooperative?

                No
                Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

          No
          Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

          No
          Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

          No
          Yes



Part 7:        Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

          No. Go to Part 8.
          Yes. Fill in the information below.


   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture
   ______________________________________________________________              $________________    ____________________    $______________________

40. Office fixtures

   ______________________________________________________________              $________________    ____________________    $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________    ____________________    $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________     ____________________   $______________________
   42.2___________________________________________________________             $________________     ____________________   $______________________
   42.3___________________________________________________________             $________________     ____________________   $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

          No
          Yes

45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

          No
          Yes


Official Form 206A/B                                        Schedule A/B: Assets      Real and Personal Property                         page 4
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 Debtor             JPA No. 111 Co., Ltd.                            Pg 7 of 22
                 _______________________________________________________                                     21-12075 (DSJ)
                                                                                   Case number (if known)_____________________________________
                 Name




Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

          No. Go to Part 9.
          Yes. Fill in the information below.


    General description                                                                Net book value of            Valuation method used    Current value of
                                                                                       debtor's interest            for current value        debtor’s interest
    Include year, make, model, and identification numbers (i.e., VIN,
                                                                                       (Where available)
    HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

    47.1___________________________________________________________                     $________________            ____________________   $______________________

    47.2___________________________________________________________                     $________________            ____________________   $______________________

    47.3___________________________________________________________                     $________________            ____________________   $______________________

    47.4___________________________________________________________                     $________________            ____________________   $______________________


48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

    48.1__________________________________________________________                     $________________             ____________________   $______________________

    48.2__________________________________________________________                     $________________             ____________________   $______________________

49. Aircraft and accessories
                                                                                                                     ASCEND
                                                                                                                      ASCENDfull-life
                                                                                                                               full-life
          2016 A350-941 Aircraft MSN 067
    49.1__________________________________________________________
          2016 A350-941 Aircraft MSN 067                                                 78,632,855.32
                                                                                        78,632,855.32
                                                                                       $________________             market valuation
                                                                                                                     ____________________
                                                                                                                       market valuation      118,280,000.00 *
                                                                                                                                              118,280,000.00
                                                                                                                                            $______________________

    49.2__________________________________________________________                     $________________             ____________________   $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

    ______________________________________________________________                     $________________             ____________________   $______________________


51. Total of Part 8.                                                                                                                         118,280,000.00
                                                                                                                                               118,280,000.00
                                                                                                                                            $______________________
     Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes




 * For the avoidance of doubt, this amount reflects an estimated valuation for scheduling purposes only, based on information
   currently available to the Debtor, and does not purport to represent the ultimate value that would be received in the event of a sale.

 Official Form 206A/B                                             Schedule A/B: Assets           Real and Personal Property                            page 5
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Debtor              JPA No. 111 Co., Ltd.                         Pg 8 of 22
                 _______________________________________________________                                 21-12075 (DSJ)
                                                                                Case number (if known)_____________________________________
                 Name




Part 9:     Real property

54. Does the debtor own or lease any real property?
          No. Go to Part 10.
          Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used     Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value         debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
    55.1________________________________________            _________________     $_______________     ____________________      $_____________________

    55.2________________________________________            _________________     $_______________     ____________________      $_____________________

    55.3________________________________________            _________________     $_______________     ____________________      $_____________________

    55.4________________________________________            _________________     $_______________     ____________________      $_____________________

    55.5________________________________________            _________________     $_______________     ____________________      $_____________________

    55.6________________________________________            _________________     $_______________     ____________________      $_____________________


56. Total of Part 9.
                                                                                                                                 $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
           No
           Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
           No
           Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
          No. Go to Part 11.
          Yes. Fill in the information below.

      General description                                                         Net book value of    Valuation method          Current value of
                                                                                  debtor's interest    used for current value    debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________    ______________________   $____________________

61. Internet domain names and websites
    ______________________________________________________________                $_________________    ______________________    $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________    ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
    ______________________________________________________________                $_________________    ______________________    $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________    _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________    _____________________    $____________________

66. Total of Part 10.
                                                                                                                                 $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets       Real and Personal Property                         page 6
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Debtor             JPA No. 111 Co., Ltd.                            Pg 9 of 22
                _______________________________________________________                                    21-12075 (DSJ)
                                                                                  Case number (if known)_____________________________________
                Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
         No
         Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         No
         Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         No
         Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
          No. Go to Part 12.
     x    Yes. Fill in the information below.
                                                                                                                                     Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)

    ______________________________________________________
                                                                     _______________     –   __________________________         =   $_____________________
                                                                     Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)
    Consumption
     Consumption taxtax  refund
                      refund
    _________________________________________________________________________________                                2021             4,799.98
                                                                                                           Tax year ___________
                                                                                                                       2021             4,799.98
                                                                                                                                    $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________     $_____________________
    _________________________________________________________________________________
                                                                                                           Tax year ___________     $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________

78. Total of Part 11.
                                                                                                                                      4,799.98
                                                                                                                                        4,799.98
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         No
         Yes

Official Form 206A/B                                         Schedule A/B: Assets        Real and Personal Property                             page 7
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Debtor                JPA No. 111 Co., Ltd.
                  _______________________________________________________     Pg 10 of 22                            21-12075 (DSJ)
                                                                                            Case number (if known)_____________________________________
                  Name




Part 12:         Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                                 Current value of                      Current value
                                                                                                        personal property                     of real property
                                                                                                             156,013.05
                                                                                                           $_______________
                                                                                                             156,013.05
80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.

                                                                                                             0
                                                                                                           $_______________
                                                                                                                 0.00
81. Deposits and prepayments. Copy line 9, Part 2.

                                                                                                             0 0.00
                                                                                                           $_______________
82. Accounts receivable. Copy line 12, Part 3.

                                                                                                             0 0.00
                                                                                                           $_______________
83. Investments. Copy line 17, Part 4.
                                                                                                             0 0.00
                                                                                                           $_______________
84. Inventory. Copy line 23, Part 5.
                                                                                                             0 0.00
                                                                                                           $_______________
85. Farming and fishing-related assets. Copy line 33, Part 6.

86. Office furniture, fixtures, and equipment; and collectibles.                                             0
                                                                                                           $_______________
                                                                                                                0.00
     Copy line 43, Part 7.
                                                                                                             $118,280,000
                                                                                                            118,280,000.00
87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                              $_______________


88. Real property. Copy line 56, Part 9. . .....................................................................................
                                                                                                                                                0 0.00
                                                                                                                                              $________________

                                                                                                             0
                                                                                                           $_______________
                                                                                                                0.00
89. Intangibles and intellectual property. Copy line 66, Part 10.

                                                                                                             4,799.98
90. All other assets. Copy line 78, Part 11.                                                          +        4,799.98
                                                                                                           $_______________


91. Total. Add lines 80 through 90 for each column. ............................ 91a.                       118,440,813.03
                                                                                                           $_______________        +   91b.
                                                                                                                                                   0.00
                                                                                                                                              $________________




                                                                                                                                                                   118,440,813.03
                                                                                                                                                                  $__________________
92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ..............................................................................................




Official Form 206A/B                                                        Schedule A/B: Assets                 Real and Personal Property                               page 8
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                In re JPA NO. 111 CO., LTD., Case No. 21-12075 (DSJ)
                           Schedule A/B Part 1, Question 3
          Checking, savings, money market, or financial brokerage accounts


Name of institution
(bank or brokerage                              Account number       Current value of
       firm)              Type of account        (last 4 digits)     debtor's interest
                      Savings Account
  CA-CIB (Paris)      [Repayment Account]            5547            $             0.01
                      Savings Account [USD
 SMBC (Akasaka)       Fund Account]                  8418            $       112,672.66
                      Savings Account [JPY
 SMBC (Akasaka)       Account]                       8059            $         5,517.26
                      Savings Account [JPY
 SMBC (Akasaka)       Fund Account]                  8128            $        37,823.11
                                Sum:                                 $       156,013.05
              21-12075-dsj                  Doc 19              Filed 12/31/21 Entered 12/31/21 10:34:53                                  Main Document
                                                                             Pg 12 of 22
  Fill in this information to identify the case:

                JPA No. 111 Co., Ltd.
  Debtor name __________________________________________________________________
                                                Southern
  United States Bankruptcy Court for the: ______________________             New York
                                                                 District of _________
                                                                                          (State)

  Case number (If known):           21-12075 (DSJ)
                               _________________________
                                                                                                                                                           Check if this is an
                                                                                                                                                           amended filing
 Official Form 206D
 Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
 Be as complete and accurate as possible.

 1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
     x Yes. Fill in all of the information below.

 Part 1:       List Creditors Who Have Secured Claims
                                                                                                                                  Column A                Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one
    secured claim, list the creditor separately for each claim.                                                                   Amount of claim         Value of collateral
                                                                                                                                  Do not deduct the value that supports this
                                                                                                                                  of collateral.          claim
2.1 Creditor’s name                                              Describe debtor’s property that is subject to a lien
    See Attached Schedule D Part 1, Question 2
     __________________________________________                                                                         103,757,464.05                      118,280,000.00
                                                                  ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                    ___________________________________________________

     ________________________________________________________     ___________________________________________________
     ________________________________________________________    Describe the lien
                                                                  __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
                                                                      No
     _________________________________________
                                                                      Yes

    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                      No
    Last 4 digits of account
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   ___ ___ ___ ___
    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.
       No                                                             Contingent
       Yes. Specify each creditor, including this creditor,           Unliquidated
            and its relative priority.                                Disputed
             ___________________________________
             ___________________________________

2.2 Creditor’s name                                              Describe debtor’s property that is subject to a lien
     __________________________________________                   ___________________________________________________ $__________________                 $_________________

    Creditor’s mailing address                                    ___________________________________________________
     ________________________________________________________     ___________________________________________________
     ________________________________________________________    Describe the lien
                                                                  __________________________________________________
    Creditor’s email address, if known                            Is the creditor an insider or related party?
                                                                      No
     _________________________________________
                                                                      Yes

    Date debt was incurred __________________                     Is anyone else liable on this claim?
                                                                      No
    Last 4 digits of account
                                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H).
    number                   ___ ___ ___ ___
    Do multiple creditors have an interest in the                 As of the petition filing date, the claim is:
    same property?                                                Check all that apply.

       No                                                             Contingent
       Yes. Have you already specified the relative                   Unliquidated
            priority?                                                 Disputed
            No. Specify each creditor, including this
                 creditor, and its relative priority.
                 _________________________________
                 _________________________________
            Yes. The relative priority of creditors is
                 specified on lines _____

 3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                     103,757,464.05
                                                                                                                                   $________________
    Page, if any.


   Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                           1
                                                                                                                                                             page 1 of ___
                                                                                                                              In re JPA NO. 111 CO., LTD., Case No. 21-12075 (DSJ)
                                                                                                                                                Schedule D Part 1
Main Document




                                                                                                                                  Creditors Who Have Claims Secured by Property




                                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                                               Contingent



                                                                                                                                                                                                                                           Disputed
                                                          Secured Creditor                                                                         Date         Description of Lien and       Is creditor an                                                              Value of Collateral *
                                           Line           Name                 Address 1                City / State / ZIP      Country            Incurred     Collateral                    Insider?                                                Amount of Claim     Supporting Claim
                                                                                                                                                                Senior priority lien on
                                                                                                                                                                Aircraft (pursuant to NY
                                                                                                                                                                and Vietnam Mortgages)
                                                                                                                                                                and all rights and title to
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                                                        FitzWalter Capital                                                                                      Leasing Rights (pursuant
                                                        Partners (Financial                                                                                     to Assignment
                                                    1.1 Trading) Limited       21 Bruton Street         London W1J 6QD          England            11/6/18      Agreement)                    No                            x                            $52,925,344.10        $118,280,000.00
                                                                                                                                                                Senior priority lien on
                                                          Mega International                                                                                    Aircraft (pursuant to NY
                                                          Commercial Bank,                                                                                      and Vietnam Mortgages)
                                                          Co., Ltd., TOKYO                                                                                      and all rights and title to
                                                          BRANCH                                                                                                Leasing Rights (pursuant
                                                                                                                                                                to Assignment
                                                    1.2                        2-2-1 Marunouchi         Chiyoda-ku, Tokyo       Japan              11/6/18      Agreement)                    No                            x                            $15,702,539.50        $118,280,000.00
             Pg 13 of 22




                                                                                                                                                                Senior priority lien on
                                                                                                                                                                Aircraft (pursuant to NY
                                                          The Korea                                                                                             and Vietnam Mortgages)
                                                          Development Bank                                                                                      and all rights and title to
                                                                                                                                                                Leasing Rights (pursuant
                                                                                                        Yeongdeungpo-gu,                                        to Assignment
                                                    1.3                        14 Eunhaeng-ro           Seoul 07242             Korea              11/6/18      Agreement)                    No                            x                            $17,447,266.12        $118,280,000.00
                                                                                                                                                                Senior priority lien on
                                                                                                                                                                Aircraft (pursuant to NY
                                                          The Korea                                                                                             and Vietnam Mortgages)
                                                          Development Bank,                                                                                     and all rights and title to
                                                          TOKYO BRANCH                                                                                          Leasing Rights (pursuant
                                                                                                                                                                to Assignment
                                                    1.4                        GranTokyo North Tower 36F,
                                                                                                     Chiyoda-ku,
                                                                                                          1-9-1, Marunouchi
                                                                                                                 Tokyo      Japan                  11/6/18      Agreement)                    No                            x                            $8,723,633.06         $118,280,000.00
Doc 19




                                                                                                                                                                Junior priority lien on
                                                                                                                                                                Aircraft (pursuant to NY
                                                                               c/o Squire Patton                                                                and Vietnam Mortgages)
                                                                               Boggs (US) LLP (Attn:                                                            and all rights and title to
                                                                               Nava Hazan and                                                                   Leasing Rights (pursuant
21-12075-dsj




                                                                               Christopher J. Giaimo)                                                           to Assignment
                                                    1.5 Mizuho Leasing         2550 M Street, NW        Washington, DC 20037 USA                   11/6/18      Agreement)                    No                            x                             $8,958,681.27        $118,280,000.00
                                           *For the avoidance of doubt, this amount reflects an estimated valuation for scheduling purposes only, based on information
                                           currently available to the Debtor, and does not purport to represent the ultimate value that would be received in the event of a sale.
                 21-12075-dsj                Doc 19            Filed 12/31/21 Entered 12/31/21 10:34:53                                 Main Document
   Fill in this information to identify the case:                           Pg 14 of 22

   Debtor             JPA No. 111 Co., Ltd.
                    __________________________________________________________________

   United States Bankruptcy Court for the: ______________________
                                             Southern             District of __________
                                                                              New York
                                                                                              (State)
   Case number            21-12075 (DSJ)
                     ___________________________________________
    (If known)

                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing
  Official Form 206E/F
  Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                             12/15
  Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
  unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
  on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
  (Official Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
  the Additional Page of that Part included in this form.

 Part 1:         List All Creditors with PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
     X No. Go to Part 2.
         Yes. Go to line 2.

 2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than
    3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                       Total claim                Priority amount
2.1 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.2 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)


2.3 Priority creditor’s name and mailing address                          As of the petition filing date, the claim is: $______________________   $_________________
     __________________________________________________________________   Check all that apply.
    ___________________________________________                               Contingent
                                                                              Unliquidated
    ___________________________________________                               Disputed
    Date or dates debt was incurred                                        Basis for the claim:
                                                                          __________________________________
    _________________________________

    Last 4 digits of account                                              Is the claim subject to offset?
    number      ___ ___ ___ ___                                                No
                                                                               Yes
    Specify Code subsection of PRIORITY unsecured
    claim: 11 U.S.C. § 507(a) (_____)




  Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of ___
                                                                                                                                                                  4
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                JPA No. 111 Co., Ltd.
                                                   Filed 12/31/21 Entered 12/31/21 10:34:53 Main Document
  Debtor       _______________________________________________________                                    21-12075 (DSJ)
                                                                              Case number (if known)_____________________________________
               Name                                             Pg 15 of 22
 Part 2:    List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim

3.1 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.
                                                                                                                             1,093,263.88
                                                                                                                           $________________________________
                                                                                                                                665,763.88
     See Attached Schedule E/F, Part 2, Question 3
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.2 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.3 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.4 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.5 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________
                                                                               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes

3.6 Nonpriority creditor’s name and mailing address                        As of the petition filing date, the claim is:
                                                                           Check all that apply.                           $________________________________
    ____________________________________________________________
                                                                               Contingent
                                                                               Unliquidated
    ____________________________________________________________
                                                                               Disputed
    ____________________________________________________________
                                                                           Basis for the claim: ________________________

    Date or dates debt was incurred            ___________________         Is the claim subject to offset?
                                                                               No
    Last 4 digits of account number            ___ ___ ___ ___                 Yes



    Official Form 206E/F                           Schedule E/F: Creditors Who Have Unsecured Claims                                              page __
                                                                                                                                                       2 of ___
                                                                                                                                                             4
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  Debtor                 JPA No. 111 Co., Ltd.
                     _______________________________________________________                 Case number (if known)_____________________________________
                                                                                                                        21-12075 (DSJ)
                     Name                                                      Pg 16 of 22
Part 3:              List Others to Be Notified About Unsecured Claims


4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
       assignees of claims listed above, and attorneys for unsecured creditors.
       If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.



            Name and mailing address                                                                           On which line in Part 1 or Part 2 is the   Last 4 digits of
                                                                                                               related creditor (if any) listed?          account number, if
                                                                                                                                                          any

4.1.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.2.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.3.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.4.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

41.                                                                                                            Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.5.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.6.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.7.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.8.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.9.                                                                                                           Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.10.                                                                                                          Line _____
         ___________________________________________________________________________________________________

         _________________________________________________________________                                         Not listed. Explain ________________   ___ ___ ___ ___

         _________________________________________________________________                                         _________________________________

4.11.
                                                                                                               Line _____
         ___________________________________________________________________________________________________
                                                                                                                   Not listed. Explain ________________   ___ ___ ___ ___
         _________________________________________________________________
                                                                                                                   _________________________________
         _________________________________________________________________




       Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                 page __
                                                                                                                                                                        3 of ___
                                                                                                                                                                             4
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                                                                                                      21-12075 (DSJ)
 Debtor            JPA No. 111 Co., Ltd.
               _______________________________________________________   Case number (if known)_____________________________________
               Name                                        Pg 17 of 22
Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims


5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                       Total of claim amounts



5a. Total claims from Part 1                                                                 5a.                  N/A
                                                                                                       $_____________________________




5b. Total claims from Part 2                                                                 5b.   +          1,093,263.88
                                                                                                              665,763.88
                                                                                                       $_____________________________




5c. Total of Parts 1 and 2
                                                                                             5c.
                                                                                                              1,093,263.88
                                                                                                              665,763.88
                                                                                                       $_____________________________
   Lines 5a + 5b = 5c.




   Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                 page __
                                                                                                                                     4 of ___
                                                                                                                                           4
                                                                                                           In re JPA NO. 111 CO., LTD., Case No. 21-12075 (DSJ)
                                                                                                                           Schedule E/F, Part 2
Main Document




                                                                                                             Creditors Who Have Nonpriority Unsecured Claims




                                                                                                                                                                                                            Unliquidated
                                                                                                                                                                                               Contingent



                                                                                                                                                                                                                           Disputed
                                                                                                                                                                                  Subject to
                                                  Unsecured Creditor                                                                       Date                                   offset
                                           Line   Name                  Address 1               City / State / ZIP       Country           Incurred     Basis for claim           (Y/N)                                               Amount of Claim
                                                                        Kasumigaseeki
                                                  JP Lease Product & Common Gate, West          3-2-1 Kasumigaseeki
                                           2.1    Services Co.          Tower 21F               Chiyoda-Ku, Tokyo        Japan             Various      Loan / Debt               Yes                                                 $618,263.88
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                                                                        Toranomon Hills Mori
                                           2.2    K&L Gates (Tokyo)     Tower 28F, 1-23-1       Toranomon, Minato-ku Japan                 Various      Professional Services     No           x            x                         $47,500.00
                                                  Stratos Aircraft
                                                  Management            2 Chome−6−1             Chiyoda-ku, 100-0004                                    Indemnity rights under
                                           2.3    Limited               Ōtemachi                Tokyo                    Japan             11/6/18      services agreements       No           x            x                         Unknown
                                                                        Kings Place, 90 York                                                            Rights under purchase
                                           2.4    Rolls-Royce           Way                     London, N1 9FX           England           11/6/18      agreement                 Yes          x            x                         Unknown
                                                                        2550 Wasser Terrace                                                             Rights under purchase
                                           2.5    Airbus Americas Inc. #9100                    Herndon, VA 20171        USA               11/6/18      agreement                 Yes          x            x                         Unknown
             Pg 18 of 22




                                                                        Unit 10 and 11, Cahir
                                           2.6    JLPS Leasing Draco Limited
                                                                        Road, Cashel, Co.       Tipperary, E25 WK16      Ireland           11/19/18     Rights under Head Lease   Yes          x            x                         Unknown
                                                                        200 Nguyen Son, Bo De   Long Bien District,
                                           2.7    Vietnam Airlines      Ward                    Hanoi City               Vietnam           11/19/18     Rights under Lease        Yes          x            x                         Unknown
Doc 19
21-12075-dsj
            21-12075-dsj               Doc 19       Filed 12/31/21 Entered 12/31/21 10:34:53                               Main Document
                                                                 Pg 19 of 22
 Fill in this information to identify the case:

                 JPA No. 111 Co., Ltd.
 Debtor name __________________________________________________________________

                                          Southern
 United States Bankruptcy Court for the:______________________ District of   New  York
                                                                              _______
                                                                              (State)
 Case number (If known):      21-12075 (DSJ)
                            _________________________                        11
                                                                    Chapter _____



                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.

 1. Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official
       Form 206A/B).
 2. List all contracts and unexpired leases                                              State the name and mailing address for all other parties with
                                                                                         whom the debtor has an executory contract or unexpired lease


         State what the contract or      See Attached Schedule G, Question 2
                                         ____________________________________             _________________________________________________________
 2.1     lease is for and the nature
         of the debtor’s interest         ____________________________________            _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract          ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.2     lease is for and the nature
         of the debtor’s interest         ____________________________________            _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract          ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.3     lease is for and the nature
         of the debtor’s interest         ____________________________________            _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract          ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.4
         lease is for and the nature
         of the debtor’s interest         ____________________________________            _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract          ____________________________________            _________________________________________________________


         State what the contract or       ____________________________________            _________________________________________________________
 2.5     lease is for and the nature
         of the debtor’s interest         ____________________________________            _________________________________________________________
                                                                                          _________________________________________________________
         State the term remaining         ____________________________________
                                                                                          _________________________________________________________
         List the contract number of
         any government contract          ____________________________________            _________________________________________________________




Official Form 206G                          Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of ___
                                                                                                                                                       1
                                                                                                                                                              In re JPA NO. 111 CO., LTD., Case No. 21-12075 (DSJ)
                                                                                                                                                                                Schedule G, Part 1
                                                                                                                                                                     Executory Contracts and Unexpired Leases
Main Document




                                              Agreement                     Party1                                              Party2                                            Party3                                     Party4                            Party5                                   Party6
                                                                                                                                                       JLPS Leasing Draco
                                            1 Aircraft Head Lease Agreement Head Lessor          JPA No. 111 Co., Ltd.          Lessee                 Limited
                                                                                                                                                                                                       FitzWalter Capital                FitzWalter Capital               MEGA INTERNATIONAL
                                                                                                                                                       Credit Agricole Corporate                       Partners (Financial   Senior      Partners (Financial   Senior     COMMERCIAL BANK, CO.,         Senior      THE KOREA
                                                                            Borrower             JPA No. 111 Co., Ltd.   Senior Agent                  and Investment Bank       Security Agent        Trading) Limited      Lender 1    Trading) Limited      Lender 2   LTD., TOKYO BRANCH            Lender 3    DEVELOPMENT BANK
                                            2 Senior Facility Agreement
                                                                                                 (#7) THE KOREA
                                                                                                 DEVELOPMENT BANK, TOKYO
                                                                            Senior Lender 4      BRANCH
                                                                                                                                                                                                       FitzWalter Capital
                                                                                                                                                       Credit Agricole Corporate                       Partners (Financial   Junior       Mizuho Leasing
                                            3 Junior Facility Agreement     Borrower             JPA No. 111 Co., Ltd.          Junior Agent           and Investment Bank       Security Agent        Trading) Limited      Lender 1     Company, Limited
                                                                                                                                                                                                       Credit Agricole                    Credit Agricole                                               Hedging     FitzWalter Capital
                                                                                                                                                       JLPS Leasing Draco                              Corporate and                      Corporate and        Security   FitzWalter Capital Partners   Counterpart Partners (Financial
Filed 12/31/21 Entered 12/31/21 10:34:53




                                                                            Borrower             JPA No. 111 Co., Ltd.          Accession              Limited                   Senior Agent          Investment Bank       Junior Agent Investment Bank      Agent      (Financial Trading) Limited   y           Trading) Limited
                                            4 Proceeds Agreement
                                                                                                                                                       MEGA INTERNATIONAL                              THE KOREA                          THE KOREA                                                     (#12)       Credit Agricole
                                                                            (#7) Senior Lender   FitzWalter Capital Partners                           COMMERCIAL BANK, CO.,                           DEVELOPMENT           (#10) Senior DEVELOPMENT BANK, (#11) Junior Mizuho Leasing Company,        Account     Corporate and
                                                                            1                    (Financial Trading) Limited    (#8) Senior Lender 2   LTD., TOKYO BRANCH    (#9) Senior Lender 3      BANK                  Lender 4     TOKYO BRANCH      Lender 1     Limited                        Bank        Investment Bank
                                                                                                                                                       FitzWalter Capital
                                                                            Hedging                                             Hedging                Partners (Financial
                                            5 ISDA 2002 Master Agreement    Counterparty         JPA No. 111 Co., Ltd.          Counterparty           Trading) Limited
                                                                                                 JP Lease Products & Services
                                            6 Administrative Agreement      Servicer             Co., Ltd.                      Client                 JPA No. 111 Co., Ltd.
                                              Lease Management and                               JP Lease Products & Services
                                            7 Marketing Agreement           Servicer             Co., Ltd.                      Client                 JPA No. 111 Co., Ltd.
                                            8 Accounting Agreement          Servicer             Tokyo Sogo Accounting & Co.    Client                 JPA No. 111 Co., Ltd.
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                                                                                                                                                       JLPS Leasing Draco
                                            9 Head Lease Amendment Deed Head Lessor              JPA No. 111 Co., Ltd.          Lessee                 Limited
                                              Head Lease Amendment Deed                                                                                JLPS Leasing Draco
                                           10 No. 2                     Head Lessor              JPA No. 111 Co., Ltd.          Lessee                 Limited
                                                                                                                                                                                                       Credit Agricole                   FitzWalter Capital
                                              Facility Agreement Side Letter                                                                           Credit Agricole Corporate                       Corporate and         Security    Partners (Financial
                                           11 (Loan Deferral Agreement)      Borrower            JPA No. 111 Co., Ltd.          Senior Agent           and Investment Bank       Junior Agent          Investment Bank       Agent       Trading) Limited
                                              Second Facility Agreement Side                                                                                                                           Credit Agricole                   FitzWalter Capital
                                              Letter (Loan Deferral                                                                                    Credit Agricole Corporate                       Corporate and         Security    Partners (Financial
                                           12 Agreement)                     Borrower            JPA No. 111 Co., Ltd.          Senior Agent           and Investment Bank       Junior Agent          Investment Bank       Agent       Trading) Limited
Doc 19
21-12075-dsj
             21-12075-dsj            Doc 19         Filed 12/31/21 Entered 12/31/21 10:34:53                                 Main Document
                                                                 Pg 21 of 22
 Fill in this information to identify the case:

             JPA No. 111 Co., Ltd.
 Debtor name __________________________________________________________________

                                             Southern
 United States Bankruptcy Court for the:_______________________              New York
                                                                District of ________
                                                                                (State)
 Case number (If known):       21-12075 (DSJ)
                             _________________________




                                                                                                                                             Check if this is an
                                                                                                                                             amended filing
Official Form 206H
Schedule H: Codebtors                                                                                                                                    12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach
the Additional Page to this page.


 1. Does the debtor have any codebtors?
       x    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
            Yes

 2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
       creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each
       schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

        Column 1: Codebtor                                                                                Column 2: Creditor

                                                                                                                                             Check all schedules
             Name                     Mailing address                                                     Name
                                                                                                                                             that apply:

 2.1       _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.2
           _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.3
           _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.4
           _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.5
           _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code

 2.6
           _____________________      ________________________________________________________             _____________________                 D
                                      Street                                                                                                     E/F
                                      ________________________________________________________                                                   G

                                      ________________________________________________________
                                      City                        State               ZIP Code




Official Form 206H                                               Schedule H: Codebtors                                                         page 1 of ___
           21-12075-dsj              Doc 19          Filed 12/31/21 Entered 12/31/21 10:34:53                          Main Document
                                                                  Pg 22 of 22
 Fill in this information to identify the case and this filing:


              JPA No. 111 Co., Ltd.
 Debtor Name __________________________________________________________________
                                            Southern District                   New York
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                                (State)
 Case number (If known):
                             21-12075 (DSJ)
                            _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)

              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

              Amended Schedule ____


              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


        Executed on ______________
                     12/31/2021                                     /s/ Teiji Ishikawa
                                                                _________________________________________________________________________
                           MM / DD / YYYY                        Signature of individual signing on behalf of debtor



                                                                 Teiji
                                                                   TeijiIshikawa
                                                                 ________________________________________________________________________
                                                                         Ishikawa
                                                                 Printed name

                                                                 Representative      Director
                                                                   Representative Director
                                                                 ______________________________________
                                                                 Position or relationship to debtor



Official Form 202                              Declaration Under Penalty of Perjury for Non-Individual Debtors
